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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No: 1:16-cr-37-33

v.                                                          HON. JANET T. NEFF

SIMONE WATKINS,

               Defendant.
                                            /


                ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed on January 26, 2017 by the

United States Magistrate Judge in this action. The Report and Recommendation was duly served

on the parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1. The Report and Recommendation of the Magistrate Judge (Dkt 986) is approved and

adopted as the opinion of the Court.

       2. Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charges

set forth in the single-count Indictment.

       3. The written plea agreement is hereby continued under advisement pending sentencing.




Dated: February 10, 2017                             /s/Janet T. Neff
                                                    JANET T. NEFF
                                                    United States District Judge
